Case 6:16-cv-06610-EAW-MWP Document 56 Filed 09/19/18 Page 1 of 53
Case 6:16-cv-06610-EAW-MWP Document 56 Filed 09/19/18 Page 2 of 53
Case 6:16-cv-06610-EAW-MWP Document 56 Filed 09/19/18 Page 3 of 53
Case 6:16-cv-06610-EAW-MWP Document 56 Filed 09/19/18 Page 4 of 53
Case 6:16-cv-06610-EAW-MWP Document 56 Filed 09/19/18 Page 5 of 53
Case 6:16-cv-06610-EAW-MWP Document 56 Filed 09/19/18 Page 6 of 53
Case 6:16-cv-06610-EAW-MWP Document 56 Filed 09/19/18 Page 7 of 53
Case 6:16-cv-06610-EAW-MWP Document 56 Filed 09/19/18 Page 8 of 53
Case 6:16-cv-06610-EAW-MWP Document 56 Filed 09/19/18 Page 9 of 53
Case 6:16-cv-06610-EAW-MWP Document 56 Filed 09/19/18 Page 10 of 53
Case 6:16-cv-06610-EAW-MWP Document 56 Filed 09/19/18 Page 11 of 53
Case 6:16-cv-06610-EAW-MWP Document 56 Filed 09/19/18 Page 12 of 53
Case 6:16-cv-06610-EAW-MWP Document 56 Filed 09/19/18 Page 13 of 53
Case 6:16-cv-06610-EAW-MWP Document 56 Filed 09/19/18 Page 14 of 53
Case 6:16-cv-06610-EAW-MWP Document 56 Filed 09/19/18 Page 15 of 53
Case 6:16-cv-06610-EAW-MWP Document 56 Filed 09/19/18 Page 16 of 53
Case 6:16-cv-06610-EAW-MWP Document 56 Filed 09/19/18 Page 17 of 53
Case 6:16-cv-06610-EAW-MWP Document 56 Filed 09/19/18 Page 18 of 53
Case 6:16-cv-06610-EAW-MWP Document 56 Filed 09/19/18 Page 19 of 53
Case 6:16-cv-06610-EAW-MWP Document 56 Filed 09/19/18 Page 20 of 53
Case 6:16-cv-06610-EAW-MWP Document 56 Filed 09/19/18 Page 21 of 53
Case 6:16-cv-06610-EAW-MWP Document 56 Filed 09/19/18 Page 22 of 53
Case 6:16-cv-06610-EAW-MWP Document 56 Filed 09/19/18 Page 23 of 53
Case 6:16-cv-06610-EAW-MWP Document 56 Filed 09/19/18 Page 24 of 53
Case 6:16-cv-06610-EAW-MWP Document 56 Filed 09/19/18 Page 25 of 53
Case 6:16-cv-06610-EAW-MWP Document 56 Filed 09/19/18 Page 26 of 53
Case 6:16-cv-06610-EAW-MWP Document 56 Filed 09/19/18 Page 27 of 53
Case 6:16-cv-06610-EAW-MWP Document 56 Filed 09/19/18 Page 28 of 53
            Case 6:16-cv-06610-EAW-MWP Document 56 Filed 09/19/18 Page 29 of 53


Work/School Excuse
  RGH Ennerge.>ncy           May 7. 2015
 Services
  1425 Portland Ave:         Patient:       Alexander Guerrero-Toro
  Rochester NY 14C21-3(X)1
  Phone:585^22-2DOO
                             Date of Birth: 12/28/1976
                             Date of Visit: 5/7/2015



                             To Whom It May Concern:

                             Alexander Guerrero-Toro was seen and treated in our emergency deparhnent on
                             5/7/2015.                           f I
                             He may retutkjojwgjfcV school,3'^        IS
                             If you havp ^y questions or(^j|!|cems, please don't hesitate to call.

                                                /f//
                             Eprierdency DeparOTaht Provider
Case 6:16-cv-06610-EAW-MWP Document 56 Filed 09/19/18 Page 30 of 53
Case 6:16-cv-06610-EAW-MWP Document 56 Filed 09/19/18 Page 31 of 53
Case 6:16-cv-06610-EAW-MWP Document 56 Filed 09/19/18 Page 32 of 53
Case 6:16-cv-06610-EAW-MWP Document 56 Filed 09/19/18 Page 33 of 53
                                 Case 6:16-cv-06610-EAW-MWP Document 56 Filed 09/19/18 Page 34 of 53
Hews                                                                                    Democrat and Chronicle(Rochester, New York) • Wed, Oct 28, 2015 • Other Editions ■ Page Z8
• https://www.newspapers.eom/image/135051353                                                                                                                                                                                                      Printed on Oct 23, 2017




                                                                                                                                                                          NATIONAL WEATHER TODAY
                                               ROCHESTER FORECAST                                                                                                         Sh&vn are ikkhi pcKiJcns of weathei s^tenii and prKipitdtia!. Temperatiae bands are higlR fw the d^.


                                                 TODAY




                                                Winds gusting         Vef> windy; cooler               Increasing          Increasing clouds     Mostly cloudy
                                                 past 45 mph;         with a shower or                 amounts of                                with a passing
                                                periods oi rain              two                        sunshine                                     show«^

                                               63° 55°                55° 39°                  48° 35°                     55° 45°              59° 46°
                                               17° Celsius 13°        13° Celsius 4°              9° Celsius 2°            13° Celsius r        15° Celsius 8®                          a                  iaak                                                   ^
                                                                                                                                                                          -i(h     os     «           105 »s M ^                                  ^
                                                                                                                                                                          showe-T' Tronic     r,-;n    rtjT?5    ';>r.v      kp         CcW-cnt        A?iTn"cnt      shi'icrrci-y "'orr
                                                                                                                                                                          Natioial Siminiary; Drenching tain and gusty winds wili sfkead from ihe Great
                                                                                                                                                                          Lakes to the Nonheast today as thunderstorms, locally severe in the Carolinas, lartle
                                                                                                                                                                          tfie Southeast Blustery 'winds v\nll chill the northern Plains » some rain moves
                                                                                                                                                                          through the Northwest and northern California.
                                           REGIONAL WEATHER TODAY
                                                                                                                                                                          ALMANAC                                                   LAKE ONTARIO
                                                Shown is today's weather. Temperatures                                     /     . »
                                                                                                                            Fotsitani                                     Rochester through 5 pm. Tuesday                           Level as of 7 a.m. Tue.             244.66 ft.
                                                are today's highs and tonight's lows.
                                                                                                                                                                          TEMPERATURE                                               Oct. long-term averse               244.78 ft.
                                                                                                                                                                          High/low                                55°/32''          Deep-water temperature                        56"
                                                                                                                                           lake Piadct I                  Normai highflow                         56'^/38"
                                                                                                                                           49/47 ' /                      Record hi^                       83" in 1947              SUN AND MOON
                                                                                                                        ^ Watertown                                       Record low                       26" in 1936              THE SUN                rise              set
                                                                                                                         58/54                                            Last year high/low     60"/35"                            Today              7:40 a.m. 6:09 p.m.
                                                                                                                                                                          PRECIPITATION fin irKhes)                                 Possible sun                10 hr„ 29 min.
                                                                                                                                                                          24 hours through 5 pm. Tue. 0.00"                         Thursday           7:41 a.m. 6:07 p.m.
                                                                                   Rochester                                                    J     Saratoga            Month to date                              1.77"          Possible sun                10 hr„ 26 min.
                                                                                   63/55                        Syracuse                              Springs             Nofmat mondr to date                       2.37"          THE MOON               rise              set
                                                                                   a                            60/58                                                     Year to date                             31.97"           Today              7:22 p.m. 8:46 a.m.
                                               j J'                                                                O                                                      Normal year to date                      28J5"            Thursday           8:10 p.m. 9:56 a.m.
                                                               9Buffalo                                                                                                   WIND                                                      MOON PHASES
                                                                65/52                                                                                                     Av«age                                 3.2                    Last      New          First          Full
                                                                                                                                                Albany^                   Peak gust                                9 mph
                                                                                                                                                •57/56
                                                                                                                                                                          Direction                                       East
                                                       iamestown                    ^'..C                              Binghamton                                         HEATING DEGREE DAYS
                                           ,
                                                       61/48                            3          X'
                                                                                                  ..
                                                                                                                       59/55
                                                                                                                        ^ ..
                                                                                                                            '                                             An IsYkt of energy con^inplion indl-                          Nov3      Nov 11    Nov 19         Nov 25



                                               UKE ONTARIO; Wind southeast              ADtRONDACKS:Very windy; occa
                                                                                                                occa-
                                                                                                                                                 > PoughkeRj^ie
                                                                                                                                                                          tatifig how many degrees tiie average
                                                                                                                                                                          tsnfsiaiure -was belov; 65 degrees for the
                                                                                                                                                                          day with negative values counting as zero.
                                                                                                                                                                                                                                    SNOWFALL (in inches) |
                                                                                                                                                                                                                                    Rocftestei through 5 p.m. Tue.
                                           15-25 knots. Seas 3-5 feet. Rain.            sional rain this aftOTOon.                                                        Tuesday                                          21
                                                                                                                                                                                                                                               trace     0.1      trace        0.1
                                                                                        ALBANY; Rain; there can be flood
                                                                                        ALBANY:                    flood-          I i*                                   Season to date
                                                                                                                                                                          Normal season to date
                                                                                                                                                                                                                          426
                                                                                                                                                                                                                          553
                                           FtNGER LAKES: Very windy; peri-              ing in some areas,
                                                                                                    areas.
                                                                                                                                                                          Last season to date                             444
                                           ods of rain; a tliunder^torm late.           NEW YOBK
                                                                                               YORK OTV;
                                                                                                     QTY; Rain
                                                                                                           Rain begmning.
                                                                                                                beginning.                          White Plains
                                           BUFFALO; Veiy windy; tliere can be                                                                       62/60   '■
                                           finding in some areas,                       TORONTO:
                                                                                        TORONTO: VeryVery windy;
                                                                                                          windy; there
                                                                                                                 there can
                                                                                                                       can                                                                                                              Tue    Month Monnal Sedson Mornial
                                                                                                                                                                                                                                               to date li/l-T-D to date S-l-D
                                           SYRACUSE:Very wmdy; liwre can                be flooding in some areas,
                                                                                                             areas.                                                                                   Montauk
        iON THE WEB:
                                                                                                                                        New Vork uty                                                  64/61                         Rochester season to date                    Trace
                                               be flooding in some areas.                                                               66/63
        Click weather at                                                                                                                                                                                                            Buffalo season to date                      Trace
        Democra^ndChronicle.com
                                                           Forecasts amj graphics provided by AccuWeather. Inc ©2015                                                                                                                Syracuse season to date                      0.4*

        NATIONAL CITIES                                                                                                                          INTERNATIONAL CITIES                                                              igiAccuWeather.c
                      Today       Thu.                                                                                                                                                                          Today            Thu.                       Today             Thu.
                      Ml   LOW   HI   10              Hi low    HI LOWH                  H) low        HI LOW                                                    HI LOW    HI 10 W|




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Case 6:16-cv-06610-EAW-MWP Document 56 Filed 09/19/18 Page 35 of 53
Case 6:16-cv-06610-EAW-MWP Document 56 Filed 09/19/18 Page 36 of 53
Case 6:16-cv-06610-EAW-MWP Document 56 Filed 09/19/18 Page 37 of 53
Case 6:16-cv-06610-EAW-MWP Document 56 Filed 09/19/18 Page 38 of 53
Case 6:16-cv-06610-EAW-MWP Document 56 Filed 09/19/18 Page 39 of 53
       Case 6:16-cv-06610-EAW-MWP Document 56 Filed 09/19/18 Page 40 of 53


A. When I get to work, Eddie de Jesus tells me that the bosses want me to sign a paper
that the injury had not been at work and I told him that I would not sign any documents
because they better than anyone knew that I had spent at work.
B. On that day my wife was due for childbirth and Jeeff Beckingham tells Eddie de Jesus
that if I signed the paper he would pay me the full week if it was a natural childbirth and if it
was I would cease paying for two weeks in the house but With the condition that he had to
sign the paper.
C. Shane Beckingham tells Eddie de Jesus to tell me in the form of a threat to the purpose
that I sign the paper that when other workers found out that they were going to take the
bonus that was given for not having an accident at work I was going To hit because I
reported the accident was to withdraw the bond, that was a threat because in fact the bond
was not withdrawn because my injury was caused by a repetitive job and not an
accident.D. Safety Raimon Cox then makes the report and takes me to the Workfedical
Clinic. We are joined by Victor, a Honduran who currently lives in North Carolina and was
working with me to serve as a translator. Raimon Cox was trying to convince me that the
doctor who attended me did not testify that my injury had been caused by repetitive work
and when She disqualified me to 33 percent in the first consultation I had, he did not agree
and gave his personal phone number as if it were mine for when I was called for questions
or queries who spoke and in these documents I put copies of The aforementioned my role
that I was given in the first consultation with my disability status and the number that
appears are from the office and staff of Raimon Cox and not my personal number,from
that same day began the problems towards me and The violations of my disability and
discrimination.




                                                                Alexander Guerrero Toro
      Case 6:16-cv-06610-EAW-MWP Document 56 Filed 09/19/18 Page 41 of 53




                                 Alexander Guerrero Tore
                                    Case No. 10178236

The alleged violations that appear in my case that I have missed are false since I have
always called and informed my situation and if they are not signed by me is that the
accusations are false since on October 21 I call the office and I Report my situation to
Jeeff Beckingham at 9am, my hands hurt and were swollen and here I show you the
evidence.
On October 30th I did not call since on the 29th I was discharged from the hospital and the
doctor gave me a paper authorizing until November 2, 2015.
On September 9, 2015 I had a telephone interview with Beverly Gustafson (Medical Only
Representative) his telephone number (518) 2207308 and in this interview I was informed
that I was going to be taxed in this interview this information that I explained before And
how the events happened. The interview was made by the telephone of Raimon Cox
(321-271-6859).
Case 6:16-cv-06610-EAW-MWP Document 56 Filed 09/19/18 Page 42 of 53
Case 6:16-cv-06610-EAW-MWP Document 56 Filed 09/19/18 Page 43 of 53
Case 6:16-cv-06610-EAW-MWP Document 56 Filed 09/19/18 Page 44 of 53
Case 6:16-cv-06610-EAW-MWP Document 56 Filed 09/19/18 Page 45 of 53
   Case 6:16-cv-06610-EAW-MWP Document 56 Filed 09/19/18 Page 46 of 53



privacy protection policy consistent witli Human Rights Law § 297.8 which governs what
infonnation the Division may disclose, and the N.Y. Public OlTicer's Law § 89 and § 96-a. which
prohibit disclosure of social security numbers and limit further disclosure of certain information
subject to personal privacy protection. Please redact or remove personal information trom any
documentation submitted to the Division, unless and until the Division specitlcallv requests any
personal inlormation needed for the investigation, fhe following information should be
redacted: the lirst five digits ol social security numbers; dates ot birth; home addresses and home
telephone numbers; any other information of a personal nature. Lhe following documentation
should not be submitted unless specifically requested by the Di\ ision: medical records; credit
histories; resumes and employment histories. I he Division may return your documents if they
contain personal information that w as not specifically requested by the Division, if you beliew
that inclusion ol any such personal information is necessary to your response, please contact me
to discuss before submitting such information.

       11 you have any questions about the process generally, or how to submit your response,
please call me at (585) 238-8250.

                                              Very truly yours.




                                             .lulia B. Day
                                              Regional Director

       NorthStar Group Services. Inc.
       Attn; Director of Human Resources/Legal
       Seven Penn Plaza
       370 7th Avenue, Suite 1803
       New York. NY 10001


Enclosures:
Verified Complaint
Respondent Contact Information Form
Information for Respondents
          Case 6:16-cv-06610-EAW-MWP Document 56 Filed 09/19/18 Page 47 of 53


         YORK       Division of
         STATE Human Rights
ANDREW M. CUOMO                     HELEN DIANE FOSTER
                                    Ccn'ii'^i^^S'Oner




     November 24. 2015


     NorlhStar Demolition and Remediation. Inc.
     Attn: Director of Human Re.sources
     120 Elmgrove Road
     Rochester. NY 14624


             Re:    Ale.xander Guerrero Toro v. NorthStar Demolition and Remediation, Inc.
                    Case No. 10178548


             Enclosed is a copy of a verified complaint filed with the Division of Human Rights
     against you. This complaint, which alleges an unlawful discriminatory practice in violation of
     the New York State Human Rights Law . is being served upon you pursuant to Section 297.2 of
     the Human Rights Law (N.Y. Exec. Law, art. 15).

            Please submit a response in duplicate to each and every allegation in the complaint,
     complete the enclosed Respondent Information Sheet, and return the response and Information
     Sheet to the Division, at the address below, or via e-mail to roc.svrff dhr.nv.uov. within fifteen
     (15) calendar days from the date of this letter. The Division will not extend the time for this
     response, unless good cause is shown in a written application, submitted at least five (5) calendar
     days priiir to the time the response is due. Failure to respond could result in an adverse
     finding against you, w hich w ould be shared with, among others, the Secretary^ of State and
     the applicable State licensing agencies that govern your business.

             The Human Rights Law prohibits retaliation against any person because he or she has
     opposed discriminatory practices, filed a discrimination complaint, or participated in any
     proceeding before the Division. Human Rights Law § 296.7.

             Anyone who willfully resists, prevents, impedes or interl'eres with the Division's
     investigation shall be guilty of a misdemeanor punishable by imprisonment, by fine, or by both.
     Human Rights Law § 299.

             As the enclosed infonnation sheet provides, the Division will conduct a prompt
     investigation, based on the complaint and your response, which may include interviews with
     your representatives and the collection of documents. The Division expects your full
     cooperation in this investigation. y\fter the investigation is completed, the Division will make a
     determination as to whether there is probable cause to believe that unlawful discrimination has
     occurred. You will be notified of this determination.

             Protection of personal privacy: In most cases, you will be expected to submit
     documents in support of your response to the complaint. The Division observes a personal


                                                        ■dr.:   ' WVA'i nt-iK Ny GOV
    Case 6:16-cv-06610-EAW-MWP Document 56 Filed 09/19/18 Page 48 of 53



privacy proleclion policy consislenl with Human Rights Law § 297,8 which governs what
information the Di\ ision may disclose, and the N.Y. Public Officer's Law § 89 and § 96-a, which
prohibit disclosure of social security numbers and limit further disclosure of certain information
subject to personal privacy protection. Please redact or remove personal information from any
documentation submitted to the Division, unless and until the Di\ ision specifically requests any
personal information needed for the investigation, fhc following information should be
redacted: the first five digits of social security numbers; dates of birth; home addresses and home
telephone numbers; any other information of a personal nature. The following documentation
should not be submitted unless specifically requested by the Division: medical records; credit
histories; resumes and employment histories. The Division may return your documents if they
contain personal information that was not specifically requested by the Division. If you believe
that inclusion of any such personal information is necessary to your response, please contact me
to discuss before submitting such information.

        11'you have any questions about the process generally, or how to submit your response,
please call me at(585) 238-8250.

                                              Verv trulv vours.


                                                             :

                                              Julia B. Day
                                              Reuional Director
Lnclosures:
Verified Complaint
Respondent Contact Information Form
Information for Respondents
Case 6:16-cv-06610-EAW-MWP Document 56 Filed 09/19/18 Page 49 of 53
Case 6:16-cv-06610-EAW-MWP Document 56 Filed 09/19/18 Page 50 of 53
Case 6:16-cv-06610-EAW-MWP Document 56 Filed 09/19/18 Page 51 of 53
  Case 6:16-cv-06610-EAW-MWP Document 56 Filed 09/19/18 Page 52 of 53


       2a. Are medications currently prescribed?                               izfYes
       2b. If yes, what are the current medications(type and frequency)? VxinfTinvv^

       2c. Individual is stable on psychotropic medication and is taking it   PfYes
           as prescribed.

       3. Are case management services being provided?
          If"Yes",
                                                                               □ Yes
              Name of Case Manager:                                           Phone:
                                                Please Print

ni. Chemical Dependency
Does the individual have a histoiy ofdrug or alcohol abuse?         □ Yes                MNo
       If"Yes", has treatment been recommended?                     □ Yes                TJNo
       Has treatment been completed?                                □ Yes                □ No
ly. Please discuss your opinion on the following factors to be considered in relation to training,
educa tion and employment services:

       1. Personal Awareness and Motivation
       Degree of underst^ding of capacities and limitations and realistic decision-making skills.
      How has the individual demonstrated an understanding of his or her need for ACCES-VR
       services to obtain employment?




      2. Functional Limitations
      Response to pressure, supervision, working conditions to be avoided, etc: •




      3. Barriers to Employment
      Please indicate how the individual's disability has been an obstacle to employment and/or the
      rea^n(s) why s/he can't or shouldn't return to previous employment:
Case 6:16-cv-06610-EAW-MWP Document 56 Filed 09/19/18 Page 53 of 53
